Case 5:22-cr-50006-KES        Document 201        Filed 05/22/24     Page 1 of 6 PageID #: 1648




                            UNITED STATES DISTRICT COURT

                              DISTRICT OF SOUTH DAKOTA

                                     WESTERN DIVISION


  UNITED STATES OF AMERICA,                                     5:22-CR-50006-KES

                        Plaintiff,
                                                       ORDER DENYING MOTION FOR
                                                     DISCOVERY REQUEST OF ALLEGED
         vs.                                           WITNESS RECORDS (DOC. 196)

  CHARLES CANE MERRIVAL,

                        Defendant.



        Defendant Charles Cane Merrival filed a “Ritchie 1 Motion for Production

 and inspection of records of Mental” health, criminal history, deals or

 inducements from the Government, and educational history for “Athena Yellow

 Thunder and Bobbie Lovern[.[” (Doc. 196). Merrival states “[t]his request is

 based on the fact that the complaining witnesses have a history of criminal

 activity and behavior which includes alcohol abuse, drug abuse, and

 dishonesty[.]” The court denies Merrival’s motion for three reasons.

                                         DISCUSSION

    1. All motions must be made through counsel

        Merrival filed a pro se 2 motion. Because he is represented by counsel, all

 motions must be made through his attorney. See United States v. Stanko, 491


 1 Merrival is relying on Pennsylvania v. Ritchie, 480 U.S. 39, 58-60 (1987).
 2 The court held a hearing on April 18, 2024, on Merrival’s former attorney’s motion to

 withdraw. For the reasons stated on the record during the hearing, the court found that
 Merrival had forfeited his Sixth Amendment right to counsel. However, in searching for an
 attorney who would serve a stand-by counsel, the court located an attorney who was willing to

                                                 1
Case 5:22-cr-50006-KES       Document 201       Filed 05/22/24    Page 2 of 6 PageID #: 1649




 F.3d 408, 411 n.2 (8th Cir. 2007) (The court declines to address pro se motions

 when defendant is represented by counsel); United States v. Peck, 161 F.3d

 1171, 1174 n.2 (8th Cir. 1998) (It is not the court’s “practice to consider pro se

 briefs filed by parties represented by counsel”). Accordingly, on this basis, the

 motion is denied without prejudice.

    2. Merrival failed to meet and confer

        District of South Dakota Criminal Local Rule 47.1(A) states that “[b]efore

 filing a discovery motion, the certification required under D.S.D. Crim. LR 16.1

 must be met.” Local Rule 16.1 states “[a] party filing a motion concerning a

 discovery dispute must file a separate certification describing the good faith

 efforts of the parties to resolve the dispute.”

        “[T]he application of local rules is a matter peculiarly within the district

 court's province.” Chrysler Credit Corp. v. Cathey, 977 F.2d 447, 449 (8th Cir.

 1992) (internal quotations omitted); Reasonover v. St. Louis Cnty., 447 F.3d

 569, 579 (8th Cir. 2006) (“District courts have broad discretion to ... enforce

 local rules.”). A movant's failure to comply with the meet and confer

 requirement may dictate denial of his motion. United States v. Wicks, No. 11-

 CV-5027-JLV, 2012 WL 1576000, at *2 (D.S.D. May 3, 2012) (analyzing D.S.D.

 Civ. LR 37.1, which, like Crim. LR 16.1, requires parties to “file a separate

 certification describing the good faith efforts of the parties to resolve the


 represent Merrival as full legal counsel. The court held a status hearing on April 19, 2024,
 with Merrival and attorney John Rusch to discuss whether Merrival preferred to appear pro se,
 or if he wanted John Rusch to serve as full legal counsel. Merrival advised the court that he
 wanted John Rusch to be his attorney; the court entered an order appointing John Rusch to be
 Merrival’s attorney. (Doc. 181).


                                              2
Case 5:22-cr-50006-KES    Document 201     Filed 05/22/24   Page 3 of 6 PageID #: 1650




 dispute.”). The goal of these requirements is to make sure that discovery

 motions are not brought before the court that the parties could have resolved

 informally between themselves. Id.

       Merrival’s motion does not provide any description of efforts made by

 either party to resolve the dispute, nor did Merrival file a separate certification

 describing his efforts to meet and confer with the Assistant United States

 Attorney regarding the request set forth in his motion. Simply stating his

 discovery request falls short of the requirements of D.S.D. Crim. LR 47.1(A)

 and 16.1. Accordingly, on this basis, it is recommended that his motion be

 denied.

    3. Merrival failed to show that he is entitled to the requested discovery

       Although not obligated to address the merits of the motion, the court has

 reviewed the merits of the motion and for the reasons stated herein, finds the

 motion for a “Ritchie Motion for” discovery for “Athena Yellow Thunder and

 Bobbie Lovern” to be without merit.

       In Ritchie the defendant, who was charged with sexual offenses involving

 his daughter, wanted to obtain the investigative files from the state’s

 investigative agency, Children and Youth Services, a protective agency charged

 with investigating cases of suspected mistreatment and neglect. Pennsylvania,

 480 U.S. 39, 58-60 (1987). Defendant argued that he could not effectively

 question his daughter without the files and the files could reveal inconsistent

 statements and the names of potential witnesses. Under Pennsylvania state

 law, the records were subject to a qualified confidentiality and allowed

                                          3
Case 5:22-cr-50006-KES    Document 201    Filed 05/22/24   Page 4 of 6 PageID #: 1651




 disclosure “to a ‘court of competent jurisdiction pursuant to a court order.’ ”

 Id. at 44, 57–58. The Court observed that this was not a case where a state

 statute granted the agency with “the absolute authority to shield its files from

 all eyes.” Id. at 58. Applying Brady and its progeny, the Court determined that

 because state law allowed for the disclosure of confidential information, a

 criminal defendant had the right, under the Due Process Clause of the

 Fourteenth Amendment, to have the records concerning his daughter reviewed

 in camera. Id. at 57–61. The Court, however, expressly left open the question

 of “whether the result in this case would have been different if the statute had

 protected the [agency] files from disclosure to anyone, including law

 enforcement and judicial personnel.” Id. at 58, n. 14 (emphasis in the original).

       “Under Brady and its progeny, prosecutors have a duty to disclose to the

 defense all material evidence favorable to the accused, including impeachment

 and exculpatory evidence.” United States v. Robinson, 809 F.3d 991, 996 (8th

 Cir. 2016); see United States v. Whitehill, 532 F.3d 746, 753 (8th Cir. 2008)

 (“Brady applies to exculpatory and impeachment evidence, whether or not the

 accused has specifically requested the information.” (citations omitted)).

       “The [Supreme] Court has extended Brady protection to witness-

 credibility evidence when the reliability of the witness ‘may well be

 determinative of guilt or innocence.’ ” United States v. Sigillito, 759 F.3d 913,

 930 (8th Cir. 2014) (quoting Giglio, 405 U.S. at 154). “One reason for this

 extension to witness-credibility evidence is because exposure of a witness's

 motivation in testifying is a proper and important function of the

                                         4
Case 5:22-cr-50006-KES   Document 201     Filed 05/22/24   Page 5 of 6 PageID #: 1652




 constitutionally protected right of cross-examination.” Sigillito, 759 F.3d at

 930 (quotation omitted). The Eighth Circuit “ha[s] determined that witness

 motivations, like the payment of money as an incentive to change testimony,

 fall within the Brady disclosure requirement.” Id. (citing United States v.

 Librach, 520 F.2d 550, 554 (8th Cir. 1975)). “Furthermore, the prosecutor

 must disclose the possibility of a reward that gives the witness a personal stake

 in the defendant’s conviction.” Id. (citing United States v. Bagley, 473 U.S.

 667, 683 (1985)).

       Here, Merrival requests discovery on Athena Yellow Thunder and Bobbie

 Lovern. (Doc. 196). Merrival does not meet his burden of establishing that the

 requested discovery is material, as required under Brady and its progeny. The

 court already ordered the government to turn over all Brady material. During

 Merrival’s initial appearance on January 14, 2022, the court orally ordered the

 government to produce said material. The court also entered the following text

 order at Docket 8:

       Pursuant to the Due Process Protections Act, the Court confirms
       the United States' obligation to disclose to the defendant all
       exculpatory evidence--that is, evidence that favors the defendant or
       casts doubt on the United States' case, as required by Brady v.
       Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the
       United States to do so. Failure to disclose exculpatory evidence in
       a timely manner may result in consequences, including, but not
       limited to, exclusion of evidence, adverse jury instructions,
       dismissal of charges, contempt proceedings, disciplinary action, or
       sanctions by the Court.

       To the extent that Merrival seeks materials that are contemplated by the

 above order, the motion is denied as moot. To the extent that Merrival seeks

 materials that fall outside the scope of the above order, the court denies the


                                         5
Case 5:22-cr-50006-KES     Document 201     Filed 05/22/24   Page 6 of 6 PageID #: 1653




 motion without prejudice because, he makes no showing as to how the

 requested information is relevant or exculpatory.

                          NOTICE OF RIGHT TO APPEAL
       Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

 of this order before the district court upon a showing that the order is clearly

 erroneous or contrary to law. The parties have fourteen (14) days after service

 of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1)(A),

 unless an extension of time for good cause is obtained. FED. R. CRIM. P.

 58(g)(2); 59(a). Failure to file timely objections will result in the waiver of the

 right to appeal questions of fact. FED. R. CRIM. P. 59(a). Objections must be

 timely and specific in order to require review by the district court.

       DATED this 22nd day of May, 2022.

                                        BY THE COURT:



                                        DANETA WOLLMANN
                                        United States Magistrate Judge




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